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  IT IS ORDERED as set forth below:




  Date: February 3, 2021
                                                    _____________________________________
                                                               Lisa Ritchey Craig
                                                          U.S. Bankruptcy Court Judge


 _______________________________________________________________

                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN THE MATTER OF:                       :     CASE NUMBER
                                        :
CASSANDRA JOHNSON LANDRY,               :     18-55697-LRC
                                        :
                                        :
                                        :     IN PROCEEDINGS UNDER
                                        :     CHAPTER 7 OF THE
      DEBTOR.                           :     BANKRUPTCY CODE

                                       ORDER

      Before the Court is Debtor’s Objection to Trustee Withdrawal of Objection to Claim

No. 20-1 Filed By DCH (Doc. 323) (the “Objection”) and Debtor’s Objection to Claim of

Creditor Georgia Department of Community Health, Claim No. 20 (Doc. 142) (the “Claim

Objection”).

      On April 3, 2018, Debtor filed a voluntary petition under Chapter 13 of the

Bankruptcy Code. On September 13, 2018, Debtor voluntarily converted her bankruptcy
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case to a case under Chapter 7. See Doc. 72. S. Gregory Hays (the “Trustee”) was

appointed as trustee. The Trustee filed a notice of assets and requested the setting of a

claims bar date.

       On September 19, 2018, the Georgia Department of Community Health (“GDCH”)

filed a proof of claim asserting an unsecured claim in the amount of $42,634.37 (the

“Claim”) arising from Medicaid Claims Adjustments and Audit Finding; Manual 1-106

L&M.” The Claim states that GDCH has a right to set off the amount owed against

accounts receivable of Debtor’s business entity, Alliance for Change Through Treatment,

LLC (“ACTT”), and the attachment to the Claim indicates that the amount owed resulted

from an audit of the Medicaid claims of ACTT. Debtor filed the Claim Objection on

January 22, 2019. Debtor opposes payment of the Claim because the Claim is “based on

retaliation” and Debtor was targeted by GDCH for testifying regarding GDCH’s failure to

provide medical treatment to one of her patients.       Other than making this blanket

allegation, the Claim Objection simply attaches numerous “exhibits” that Debtor apparently

believes supports the disallowance of the Claim without additional explanation.

       On August 26, 2020, the Trustee objected to the Claim (Doc. 303). The Trustee

objected to the Claim because it did not include supporting documentation to establish

Debtor’s individual liability for the amounts due in connection with the audit. The Trustee

scheduled a hearing on his objection for October 1, 2020 (the “Hearing”). On September

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25, 2020, GDHC filed a response to the Trustee’s objection (Doc. 314). In support of the

Claim, GDCH stated that “Debtor was a provider in Georgia’s Medicaid Program and

providers are personally responsible for every claim submitted to” GDCH; Debtor

submitted Medicaid claims to [GDCH] for payments totaling at least $42,634.37”; GDCH

“paid those Medicaid claims”; it “was determined that the Debtor was not entitled to those

payments”; and “Debtor was responsible for returning the overpayments to [GDCH] and

did not do so.” GDCH argued that the Trustee had not met his burden of rebutting the

prima facie validity of the Claim. At the Hearing, the Trustee announced his intention to

withdraw his objection to the Claim and, on November 4, 2020, did so (Doc. 322).

       On November 18, 2020, Debtor filed the Objection, in which she asserts that the

Trustee should not have accepted supporting documentation from GDCH months after the

filing of the Claim because the failure to provide the documentation is a legitimate basis

for objecting to the Claim. Debtor again argues that the Claim should be disallowed

because it arose from GDCH’s “premeditated plans to eliminate Debtor as a Medicaid

Provider based on key incriminating evidence currently being held by Debtor, which would

incriminate many officials. . . .” The Objection references an administrative hearing at

which a ruling was “unjustly” rendered finding that GDCH’s actions were not retaliatory.

Debtor additionally objects to the Claim on the basis that Debtor is not personally liable for

the overpayments received by ACTT and because Debtor appealed the audit findings, but

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Debtor does not explain the outcome or current status of any such appeal. The purpose of

the Objection appears to be to move the Court to refuse to accept the Trustee’s withdrawal

of his objection to the Claim.

       The Court will not force the Trustee to pursue his objection to the Claim. It is the

Trustee’s statutory duty, when a purpose would be served, to examine proofs of claims and

to object to improper claims. 11 U.S.C. § 704(a)(5). Based on the information filed by

GDCH and Debtor and the Trustee’s statements during the Hearing, the Court has no basis

to conclude that the Trustee did not exercise sufficient business judgment in investigating

the basis for the Claim and deciding not to pursue his objection to the Claim.

       Further, the Court cannot sustain the Claim Objection because Debtor lacks standing

to object to the Claim. Chapter 7 debtors lack standing to object to a claim unless the case

is a surplus case that will result in a distribution under § 726(a)(6), or the underlying debt

is nondischargeable. In re Malsch, 417 B.R. 458, 461 (Bankr. N.D. Ohio 2009); see also

In re Cannon, 2017 WL 3491825, at *1 (Bankr. N.D. Fla. June 5, 2017); In re Coleman,

131 B.R. 59, 61 (Bankr. N.D. Tex. 1991) (finding Chapter 7 debtors lacked standing to

object to a claim because they had “not shown that there will be a surplus”). Here, a review

of the claims registry and the Trustee’s final report suggests that there will be no distribution

under § 726(a)(6), and Debtor has not established otherwise. See Doc. 332. Additionally,

the debt at issue does not appear to be nondischargeable. The GDCH filed a complaint

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asserting that this debt was nondischargeable, but dismissed it voluntarily. See Case No.

18-5340, Doc. 19. The deadline for objecting to the dischargeability of a particular debt

has long since passed without the filing of any other action to determine the debt

represented in the Claim to be nondischargeable.

       For these reasons, the Court finds that the Objection and the Claim Objection must

be, and hereby are, DENIED.



                                 END OF DOCUMENT

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